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AO 455 (Rev. 01/09) Waiver of an Indictment

UNITED STATES DISTRICT COURT

 

 

for the
District of Massachusetts
United States of America )
Vv. ) Case No. 19-CR-10319-PBS
John M. Lynch
Defendant - oO )
WAIVER OF AN INDICTMENT

1 understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.

Date: 09/12/2019 Qh % ph

ai GE. 's signature

# Signatuke.of-defendan ‘dant’ 's attorney

Hank Brennan, Esq.
Printed name of defendant's attorney

— Neue

“ Judge's signature

 

JUDGE PATTI B. SARIS

Judge's printed name and title
